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Silvey Law Office Ltd
Greg S. Silvey, Attorney
ISB # 5139
P.O. Box 5501
Boise, Idaho 83705
(208) 286-7400
ECF:greg@idahoappeals.com

Attorney for Defendant
Kristina Babichenko



   IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,           )                 DC No. CR-18-258-S-EJL
                                    )
            Plaintiff,              )
                                    )                 DEFENDANT KRISTINA
vs.                                 )                 BABICHENKO’S NOTICE OF
                                    )                 JOINDER IN MOTION TO
                                    )                 DISMISS SUPERSEDING
KRISTINA BABICHENKO, ET AL,         )                 INDICTMENT FOR ETHNICALLY
                                    )                 SELECTIVE PROSECUTION AND
            Defendants.             )                 ENFORCEMENT [Dkt. 364.]
                                    )
___________________________________ )

       COMES NOW, Defendant KRISTINA BABICHENKO, by and through her

attorney of record Greg S. Silvey,         and hereby joins in the Motion to Dismiss

Superseding Indictment for Ethnically Selective Prosecution and Enforcement filed by

Defendant Anna Iyerusalimets (Dkt. 364), based upon the same grounds set forth in said

motion. Defendant KRISTINA BABICHENKO concurs in and hereby adopts the

arguments set forth in the motion as if set forth herein.

       DATED This 26th day of February, 2020.
                                                             /s/
                                                      Greg S. Silvey
                                                      Attorney for Defendant
                                                      greg@idahoappeals.com



Notice of Joinder in Motion to Dismiss-1
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                             CERTIFICATE OF SERVICE

        I hereby certify that on this 26th day of February 2020, I filed the foregoing
electronically through the CM/ECF system, which caused the parties or counsel to be
served by electronic means, as more fully reflected on the Notice of Electronic Filing:

       Katherine L. Horwitz
       Assistant United States Attorney
       Office of the United States Attorney
       1290 West Myrtle Street, Suite 500
       Boise, ID 83702
       Kate.Horwitz@usdoj.gov

       Christian S. Nafzger
       Assistant United States Attorney
       Office of the United States Attorney
       1290 West Myrtle Street, Suite 500
       Boise, ID 83702
       Christian.Nafzger@usdoj.gov

       Tim Flowers
       U.S. Department of Justice
       1301 New York Ave. NW, Suite 600
       Washington, D.C. 20530
       Timothy.Flowers2@usdoj.gov

       John DeFranco
       1031 E. Park Blvd.
       Boise, ID 83712
       jcd@greyhawklaw.com
       Attorney for Pavel Babichenko

       Paul E. Riggins
       380 South 4th Street, Ste. 104
       Boise, ID 83702
       rigginslaw@gmail.com
       Attorney for Piotr Babichenko

       Rob S. Lewis
       913 W. River Street, Ste. 430
       Boise, ID 83702
       office@roblewislaw.com
       Attorney for Timofey Babichenko




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       Jeffrey E. Brownson
       223 N. 6th St, Ste. 215
       Boise, ID 83702
       jb@jeffreybrownsonlaw.com
       Attorney for Gennady Babichenko

       J.D. Merris
       913 W. River Street, Ste. 420
       Boise, ID 83702
       jmerris@earthlink.net
       Attorney for Natalya Babichenko

       Robyn A. Fyffe
       P.O. Box 5681
       Boise, ID 83705
       robyn@fyffelaw.com
       Attorney for David Bibikov

       S. Richard Rubin
       Melissa Winberg
       Nicole Owens
       702 W. Idaho Street, Ste. 1000
       Boise, ID 83702
       dick_rubin@fd.org
       melissa_winberg@fd.org
       nicole_owens@fd.org
       Attorneys for Anna Iyerusalimets

       Ellen Nichole Smith
       P.O. Box 140857
       Garden City, ID 83714
       ellen@smithhorras.com
       Attorney for Mikhail Iyerusalimets

       Thomas B. Dominick
       500 W. Bannock Street
       Boise, Idaho 83702
       tom@dominicklawoffices.com
       Attorney for Artur Pupko

                                            /s/ Greg S. Silvey




Notice of Joinder in Motion to Dismiss-3
